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UNITED S'I‘ATES DISTRICT COURT
Western District of Tennessee

   

UNITED STATES OF AMERICA
Plaintiff,

VS.

LEON JACKSON
Defendant.

JUDGMENT AND COMMITMENT ORDER

ON SUPERVISED RELEASE VIOLATION
(For Offenses Committed On or After November 1, 1987)

The defendant, Leon Jackson, was represented by Mary Catherine Jermann, Esq.

It appearing that the defendant, who was convicted on June 23, 2004 in the above
styled cause and was placed on Supervised Release for a period of three (3) years and has
violated the terms of Supervised Release.

lt is hereby ORDERED and ADJUDGED that the Supervised Release of the defendant be
revoked and that the defendant he committed to the custody of the United States Bureau
of Prisons to be imprisoned for a term of four (4} months with execution of sentence to
be deferred until after September 1, 2005.

The defendant is allowed to remain released on present bond.

Signed this the /g day of May, 2005.

ERNICE B. DONALD
UNITED STATES DISTRICT JUDGE

Defendant's SS No.: 414-15~5023

Defendant's Date of Birth: 10-06-1961

U.S. Marshal No.: 19266-076

Defendant's Mailinq Address: 1156 N. McNeil, Memphis, TN 38107

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Katrina U. Earley

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Honorable Bernice Donald
US DISTRICT COURT

